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                      UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF TEXAS
                          SAN ANTONIO DIVISION

USA                                       §
                                          §
vs.                                       §     NO: SA:20-CR-00509(1,4,5)-OLG
                                          §
(1) SATRICK WARNER                        §
(4) OMAR CASTANEDA-HERNANDEZ              §
(5) ERNESTO RAMON                         §

                     ORDER GRANTING CONTINUANCE
                    AND AMENDING SCHEDULING ORDER

      The matters before the court are Defendants Unopposed Motions for

Continuance filed in this case [dkt. #163 and #164], after reviewing the motions, it

is the opinion of the Court that the motions should be granted and that the trial in

this case should be and is continued as to all defendants named above.

        The Court further finds that the period between Tuesday, June 28, 2022

and Monday, August 15, 2022, is a reasonable period of necessary delay to allow

counsel time for preparation for trial and further finds that such period shall be

excluded from the time within which the defendant must be brought to trial and

that the ends of justice served by taking such action outweighs the best interest of

the public and the defendant in a speedy trial under the Speedy Trial Act pursuant

to Title 18, United States Code, Section 3161(h)(7)(A).

      This case shall proceed on the following amended schedules:
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      Pursuant to Federal Rules of Criminal Procedure 11(c) and the holding of

the Fifth Circuit Court of Appeals in United States of America v. Ellis, 547 F.2d

863 (5th Cir. 1977), the deadline for notifying the Court of any plea bargain or

plea agreement entered into by the parties in this cause is Thursday, August 04,

2022. The Court will not accept a plea agreement after the aforementioned

deadline. Should a plea agreement be reached and filed in this case and absent

written objection filed contemporaneously therewith, this case will be referred to a

United States Magistrate Judge for the purpose of administering the plea of guilty

and the Fed. R. Crim. P. 11 allocution, subject to final approval and the imposition

of sentence by the United States District Court.

                          PRETRIAL MATTERS

      Motions in Limine, witness lists, exhibit lists, and agreed stipulations as to

certain elements or facts, if any, shall be filed Thursday, August 04, 2022.

Responses to motions in limine, proposed jury instructions, and proposed voir dire

shall be filed Monday, August 08, 2022.

      In order to conduct a more efficient and expeditious trial, counsel is

encouraged to exchange exhibits within a reasonable period but no later than seven

(7) days prior to the pretrial conference. Once counsel has provided opposing

counsel with proposed exhibits, authentication of the exhibit will be presumed
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unless opposing counsel notifies the offering party in writing within three (3) days

after the exhibit is listed and made available. To the extent that counsel intend to

raise objections concerning the admissibility of exhibits, such objections must be

made at the pretrial conference or at least three (3) business days before trial by

notifying the Court in writing of the evidentiary disputes with copies of the

disputed exhibit and authority attached to the written objection. Counsel should

also advise the Court of any anticipated objections to witness testimony at the

pretrial conference or at least three (3) business days prior to trial.

         Pretrial Conference is reset for Thursday, August 11, 2022 at 10:30 a.m. in

Courtroom C, on the Second Floor of the United States Courthouse, 262 W. Nueva

Street, San Antonio, Texas.

         Jury selection and trial are reset for Monday, August 15, 2022 at 9:30 a.m. in

Courtroom C, on the Second Floor of the United States Courthouse, 262 W. Nueva

Street, San Antonio, Texas.

         IT IS FURTHER ORDERED that the Clerk of the Court shall send a

copy of this order to counsel for the defendant, the United States Attorney, the

United States Pretrial Services and the United States Probation Office. Counsel

for the defendant shall also notify the defendant of this schedule and advise the

defendant that he must be present for all court proceedings unless excused by the

Court.
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Signed this 24th day of June, 2022
                                     ______________________________
                                     ORLANDO L. GARCIA
                                     CHIEF U.S. DISTRICT JUDGE
